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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


ASHLEY PIERRELOUIS, Individually and Case No. 1:18-cv-04473
On Behalf of All Others Similarly Situated,
                                            Hon. Jorge L. Alonso
                          Plaintiff,

          v.

GOGO INC., MICHAEL J. SMALL,
NORMAN SMAGLEY, BARRY ROWAN,
and JOHN WADE,

                         Defendants.




               LEAD PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
                       TO DISMISS THE AMENDED COMPLAINT




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        Lead Plaintiffs Maria Zingas and Daniel Rogers (“Plaintiffs”) respectfully submit this

memorandum of law in opposition to the motion to dismiss filed by defendants Gogo Inc.

(“Gogo” or the “Company”), Michael J. Small, Normal Smagley, Barry Rowan and John Wade.

(collectively, the “Individual Defendants,” and together with Gogo, “Defendants”).

I.      PRELIMINARY STATEMENT

        Gogo provides in-flight internet connectivity services using the Company’s antenna and

satellite-based system, 2Ku. During the Class Period,1 Defendants repeatedly misrepresented the

status and true costs of 2Ku, which was Company’s largest and most important project, to

investors. Defendants touted the installation progress of 2Ku systems, but failed to disclose that

2Ku had a fundamental design flaw – the use of de-icing fluid on the planes in cold weather

rendered 2Ku inoperable. Given the nature of the repair process, planes would often go several

weeks before being fixed, and when the system was down, customers were unable to access

Gogo’s internet services, negatively impacting the Company’s revenue and income.

        Defendants claim that this case is simply one of “fraud-by-hindsight,” and argue that the

information about 2Ku’s design defect was timely disclosed.2 But the well-pled allegations of

the Amended Class Action Complaint (“Amended Complaint” or “AC”) tell a different story.

ECF No. 55.        For example, Defendants repeatedly claimed that the system was already


1
  Plaintiffs bring this action as a class action on behalf of the purchasers of Gogo’s securities between
February 27, 2017 and May 7, 2018, inclusive (the “Class Period”), seeking to pursue remedies under the
Securities Exchange Act of 1934.
2
  See ECF No. 64, Memorandum of Law in Support of Defendants’ Motion to Dismiss the Amended
Complaint (“MTD”) at 8, 24-25. Unless otherwise noted, all emphasis in this brief has been added and
internal quotation marks and citations have been omitted.
Defendants refer to a number of documents attached to a declaration of counsel. ECF No. 65. Plaintiffs
have no objection to Defendants’ references to these documents, except to the extent that Defendants rely
on them for the truth of the matters asserted therein. See, e.g., In re Shopko Sec. Litig., 2002
WL32003318, at *2 (E.D. Wis. Nov. 5, 2002) (on a motion to dismiss securities fraud claims, courts may
consider SEC filings “only to determine what disclosures the defendants made,” not “for the truth of the
… disclosures contained therein”).


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delivering 15-plus megabits per second speed to connect the passengers to the Internet; and had

98% coverage of global flight hours and 98% service availability, all vital metrics for the system

In reality, however, service availability was admittedly only in the mid 80s.

        Additionally, the problems with 2Ku systems were so severe that Delta Air Lines was

forced to intervene in multiple aspects of Gogo’s operations, because it lacked faith in Gogo’s

ability to remedy 2Ku’s issues.       This fact, along with others relating to the scale and

ramifications of 2Ku’s defect, were not disclosed to investors during the Class Period. Instead,

the true scope of the defect and its impact on the Company, requiring Gogo to, inter alia, “ramp

up” spending during winter 2017-2018 to fix reliability issues, was not adequately disclosed until

after the Company’s long-term President and CEO, Defendant Small, was removed from his

position and the Board of Directors and a new CEO was appointed.

        Under the facts alleged, Defendants’ arguments about a purported lack of falsity and the

application of the PSLRA safe harbor are unavailing. The central misstatements at issue in this

case are not forward-looking statements, but statements of present conditions regarding the

status of 2Ku that were verifiably false when made. Moreover, the safe harbor does not protect

omissions, including Defendants’ failure to disclose the significant issues that Gogo was

experiencing with 2Ku’s design flaw and the associated costs.

        The Amended Complaint’s allegations also raise a strong inference of scienter. Among

other things, the Company’s admissions following the Class Period raise both: (i) a strong

inference that the Defendants knew their statements were false and misleading when made, and;

(ii) an overwhelming inference that Defendants were at the very least reckless as to the truth or

falsity of their statements. The inference of scienter is made even more compelling by the

centrality of 2Ku to the Company’s operations, the performance metrics of which Gogo’s




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executives tracked in real time, as well as the timing of Gogo’s CEO’s removal.

II.     STATEMENT OF FACTS

        A.         Background Regarding 2Ku Global Satellite System

        Gogo provides in-flight internet connectivity services.      ¶ 28.   Gogo integrates its

hardware and software on airplanes with satellite and ground-based networks to provide internet

and entertainment services for commercial and business aircraft. Id. Gogo’s 2Ku system is an

antenna and satellite-based system for airline internet service.

        Gogo announced the 2Ku system in 2014. At that time, Gogo expected to deploy 2Ku for

commercial use in late 2015. ¶ 32. Amongst other airlines, Delta Air Lines (“Delta”), which

accounted for more than 25% of Gogo’s revenues in 2015-17, selected Gogo to provide 2Ku on

more than 250 aircraft, with installations to begin by 2016. ¶ 35.

        As of December 31, 2016, 2Ku was installed on 94 aircraft and the system had been

installed (or selected for installation) on over a dozen airlines. ¶ 32. By February 2017, Gogo

had installed 2Ku on 130 aircraft and had secured additional 2Ku contracts or agreements with

Air Canada, British Airways, Iberia, and Air France-KLM. Gogo also told the investors that it

was expecting to install an additional 450 to 550 2Ku systems during 2017. ¶ 39.

        B.         Gogo’s Future Was Tied To The Success Of The 2Ku System

        Gogo’s future success required the successful implementation of 2Ku systems. The

Company’s 2Ku purported to provide faster speeds and more revenue. As Defendant Small

explained on November 9, 2016, 2Ku systems could lead to an increase in Gogo’s average

revenue per aircraft: “So the whole story is more bandwidth, more revenue, and that’s a

fundamental issue. And we are starting the process in North America of conversions to 2Ku,

about 800 of the backlog is 2Ku conversions in North America. As we start doing those, not




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only that those planes start seeing higher average revenue per aircraft, when we switch from

ATG to 2Ku, we see about a 30% increase.”3 Similarly, before the Class Period, Defendant

Small touted 2Ku’s operational capacity, claiming it was better engineered, improving reliability.

        Yes, so 2Ku is a proprietary solution for Gogo. Its number one benefit is it’s
        nearly twice as spectrally efficient. So, it is rare in business that you can have half
        the cost structure of your competition. But, we buy a given amount of satellite
        capacity, and we get twice as many bits out of it. That's benefit one.
        Second, it has fewer moving parts and, frankly, we think better engineered. So,
        we get that 99% reliability. We often watch the competition struggle to get to
        90% availability. And even on our now two-year-old, three-year-old Ku
        technology, we're struggling to get to 98%. So, this is inherently more reliable
        and available technology. ¶ 38.

        C.         Defendants Admit That 2Ku Is Defective

        At the end of the Class Period, the Company’s CEO, Oakleigh Thorne, admitted that,

during the Class Period, 2Ku systems were defective. As he explained, “[l]ast summer, 2Ku was

our most successful product launch ever with greater than 98% service availability. And then

came winter and availability plunged down to the mid 80s. The major cause with de-icing fluid

getting into the antenna raceways in which the antenna discs spin.” ¶ 62.4 He further explained

that the issues, which existed throughout the Class Period, were also due to “some manufacturing

issues and software issues.” Id.

        Defendants were certainly aware of this issue as 2Ku systems had been installed on a

number of planes during the 2016-2017 winter. It is illogical to argue that this design defect was

not uncovered in any of the 130 aircraft that had 2Ku systems installed prior to the Class Period.

The Company conceded this fact in November of 2017 when it admitted that “seasoned” aircraft

3
 Unless otherwise indicated, all emphasis is added and all citations and quotations are omitted.
4
 The de-icing fluid would permeate the compartment in which 2Ku was installed when sprayed on planes
by airport personnel. The compartment, also referred to as the “radome” or “radar dome,” had ventilation
valves that allowed de-icing fluid to come into contact with the 2Ku system, which contained disc-like
antennas stacked on top of one another that would rotate in different directions. When de-icing fluid
entered 2Ku’s radome, the fluid would make the antennas “sticky” and unable to function properly. ¶ 55.


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with 2Ku systems had less service margin and greater ARPA5 than planes with recent system

installation. ¶¶ 110-11.

        As the weather cooled, necessitating the need for de-icing fluid, the issues with the

installed 2Ku only intensified.      Delta specifically notified Gogo that 2Ku systems were not

working as early as November or December 2017. ¶ 56. The Company was admittedly aware of

this fact. Indeed, in a January 22, 2018 article, Blane Boynton, vice president of product

management at Gogo admitted that “Much like a DirecTV dish has problems in heavy rain,

deicing fluid is like a concentrated thunderstorm.”6

        By February 2018, Delta had issued a memorandum to cabin crews highlighting 2Ku’s

reliability issues and detailing a Delta action plan which called for the carrier becoming more

involved in 2Ku maintenance (the “McDermott memo”).7                  In fact, the McDermott memo

explained that Delta’s “TechOps8 has stepped in to assist Gogo in troubleshooting and

diagnostics of 2Ku, stating that TechOps ‘is involving itself in multiple aspects of Gogo’s

operations. Some of these are on a temporary basis and some will be permanent.’” Id. The

memorandum further explained that “TechOps has begun working directly with component

manufacturers in order to design improvements into the 2Ku hardware, while Gogo is increasing

its stock level in order to better facilitate antenna replacements.” Id. The fact that Delta had

already determined that its TechOps needed to help facilitate design improvements of 2Ku

demonstrates that Delta had concluded that Gogo was not sufficiently capable of fixing the issues

without Delta’s support. Delta had been in discussions with Gogo for months about the issue.
5
  ARPA represented Gogo’s average revenue per aircraft. ¶ 50.
6
  Jonathan M. Gitlin, An end to in-flight Wi-Fi misery is at hand with Gogo’s 2Ku, ars Technica (Jan. 22,
2018, https://arstechnica.com/cars/2018/01/an-end-to-in-flight-wi-fi-misery-is-at-hand-with-gogos-2ku/
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  Jason Rabinowitz, Delta deepens involvement in 2Ku MRO in face of reliability issues, Runway Girl
Network (Feb. 27, 2018, https://runwaygirlnetwork.com/2018/02/27/delta-deepens-involvement-in-2ku-
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  Delta TechOps is the maintenance, repair and overhaul (MRO) division of Delta Air Lines.


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Certainly, Delta, one of the largest airlines in the world, did not whimsically decide to take over

the design of one of its contractors’ products.

        D.         The Full Extent Of The Issues With The 2Ku System Are Only Disclosed
                   Following Removal Of The Company’s Longtime CEO

        Even though the Company was aware of the substantial issues with 2Ku – problems so

great that Delta itself stepped in to fix the issue – Defendants failed to fully disclose the

problems to the public. Instead, on February 22, 2018, Defendants choose to tout record revenue

for the Company and stated that “Cash CAPEX increased to $220.5 million, up 66% from $133.1

million in 2016, primarily due to increased success-based airborne equipment purchases for 2Ku

installations.” ¶ 121. When discussing 2Ku issues, Defendant Wade represented that: “We’ve

identified the root cause of all of these issues, and have fixes for all of them that have either been

deployed or in the process of being deployed. By midyear 2018, we expect the entire 2Ku fleet to

operate at the same market-leading performance levels that most 2Ku aircrafts are now

achieving.” ¶ 122.       Additionally, Defendant Wade explicitly claimed that the problem had

already been fixed:

        And on the reliability issues. It was actually really caused by the de-icing fluid,
        which was able to penetrate under some of the [radar,] which caused the antennas
        to temporarily get sticky, if you will. The fix to that was very easy to do, and
        we’ve deployed that on a number of aircraft and we’re not seeing any further
        issues around that at this time. ¶ 124.

        On March 4, 2018, Michael Small stepped down from his positions as President and CEO

of Gogo and resigned his position as a member of the Company’s Board of Directors, effective

immediately. Oakleigh Thorne, the Company’s largest investor, was appointed President and

Chief Executive Officer, also effective immediately. ¶ 22.

        Thereafter, on May 4, 2018, Thorne, finally revealed the true extent of 2Ku’s issues, as

discussed above. ¶ 62. Additionally, in contrast to the Company’s statements just months before



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claiming that “the fix… was very easy to do[,]” Gogo executives finally admitted that the de-

icing issues had a substantial, previously undisclosed, financial impact on the Company, and that

Gogo was withdrawing its previously supplied financial guidance. ¶¶ 63-64. On this news, the

Company’s shares fell $1.73 per share or over 18% over the next two trading days to close at

$7.86 per share on May 7, 2018, damaging investors. ¶ 65. That same day, after market close,

Moody’s downgraded Gogo’s credit rating due to the 2Ku issue. ¶ 66. Gogo shares fell $2.80

per share or over 35.6% to close at $5.06 per share on May 8, 2018, further damaging investors.

III.    ARGUMENT

        On a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), the court “tak[es] all factual

allegations as true and draw[s] all reasonable inferences in favor of the plaintiffs.” Pugh v.

Tribune Co., 521 F.3d 686, 692 (7th Cir. 2008). “[The] complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). However, “[t]he plausibility standard is not akin to a ‘probability

requirement.’” Id.

        A.         Defendants’ Materially False Or Misleading Statements

        In pleading falsity under the PSLRA, a complaint must “specify each statement alleged to

have been misleading [and] the reason or reasons why the statement is misleading[.]” 15 U.S.C.

§ 78u-4(b)(1). Although the PSLRA imposes a heightened standard of pleading, “[n]ot even the

[PSLRA] requires proof as opposed to plausible allegations.” Simpson v. Nickel, 450 F.3d 303,

306 (7th Cir. 2006). Ultimately, in evaluating whether a plaintiff has adequately pled falsity, the

Court must determine “‘whether the facts alleged are sufficient to support a reasonable belief as

to the misleading nature of the statement or omission.’” Makor Issues & Rights, Ltd. v. Tellabs,

Inc., 437 F.3d 588, 596 (7th Cir. 2006), as modified on denial of reh’g (July 10, 2006), vacated




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and remanded, 551 U.S. 308 (2007) (“Tellabs I”)). Under Rule 9(b), plaintiff need not “plead

facts showing that the representation is indeed false.” Pension Tr. Fund for Operating Engineers

v. DeVry Educ. Grp., Inc., 2017 WL 6039926, at *9 (N.D. Ill. Dec. 6, 2017).

                   1.   Defendants’ Statements And Omissions Concerning The 2Ku Systems
                        Were Materially False And Misleading

        During the Class Period, Defendants fed investors materially misleading information

about 2Ku systems and the Company’s expected revenue. Among other things, Defendants

touted 2Ku systems and claimed that “2Ku is delivering the best performance in the industry,

characterized by 3 numbers: 15, 98, 98. This means 15-plus megabits per second speed to

connect the passengers; 98% coverage of global flight hours and 98% service availability. This is

the performance we are delivering today to 2Ku aircraft around the world.” ¶¶ 44-45, 48.

Defendants touted 2Ku’s performance despite the fact that during this period airlines held back

on marketing the product, Gogo was forced to ramp up spending to fix reliability of 2Ku, and the

Company had not achieved 98/98/15. ¶ 62.

        The AC’s allegations are supported by Plaintiffs’ diligent pre-complaint inquiry, which

“raise[s] a reasonable expectation that discovery will reveal” additional evidence of falsity and

put Defendants on notice of Plaintiffs’ claims.          Devry, 2017 WL 6039926, at * 9.9 Indeed,

Defendants are sufficiently on notice of Plaintiffs’ claims, as the AC’s allegations set forth in

clear and specific terms the information available to Gogo and why, given its possession of this
9
  See also Adams v. Kinder-Morgan, Inc., 340 F.3d 1083, 1102 (10th Cir. 2003) (“The level of factual
specificity required to meet [the PSLRA pleading] standard may put defendants on notice of precisely
what they are alleged to have done wrong and permit them to defend against the charge.”); id. at 1105
(“Although based on information and belief, [the complaint] alleges sufficient ‘facts on which that belief
is formed’ to satisfy the pleading requirement of § 78u–4(b)(1) [because it] adequately puts the
defendants on notice of the substance of the plaintiffs’ claims, and the range, sources, and level of detail
of the facts alleged demonstrate that this complaint is not frivolous or conclusory and deserves to proceed
to the next stage of litigation.”); In re Cabletron Sys., Inc., 311 F.3d 11, 33 (1st Cir. 2002) (“[T]he
rigorous standards for pleading securities fraud do not require a plaintiff to plead evidence [, and]
Defendants’ argument that even more detail be required, before there is any discovery, ... amounts to
requiring plaintiffs to plead evidence.”)).


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information, Defendants’ statements about 2Ku were misleading. In short, Plaintiffs have not

asserted “fraud by hindsight,” and the motion to dismiss must be denied. Jones v. Corus

Bankshares, Inc., 701 F. Supp. 2d 1014, 1020–21 (N.D. Ill. 2010).

                      (a)     Defendants’ November And December 2017 Statements Were
                              False

        Problems related to Gogo’s 2Ku increased in November 2017. ¶ 58. At this time, winter

2017-2018, Gogo had approximately 550 aircraft equipped with 2Ku systems. ¶ 32.            Delta

notified Gogo that 2Ku systems were not working, especially among Delta’s northern routes. ¶¶

56, 58. Given the nature of the repair process, planes would often go weeks before being fixed.

¶ 60. When a 2Ku system was down, airline customers were unable to access Gogo’s services.

In turn, this would impact Gogo’s revenue, net income, and EBITDA. ¶ 61.

        Nevertheless, Defendants did not disclose the de-icing issue to investors, and continued

to tout 2Ku’s performance, misleading investors and claiming, in November and December

2017, that Gogo was experiencing “increased take rates and improved ARPA on our satellite

systems,” claimed that EBITDA would be significantly higher in 2018 than in 2017, and

described 2Ku’s current operational performance as “15, 98, 98.” See, e.g.,¶¶ 98, 102, 104, 106,

110, 112. Indeed, on November 17, 2017, Small claimed, “[w]e describe the performance as 15,

98, 98. That’s 15 megabits per second to the device, 98% of global flight hours, and 98%

availability. This provides a ground-like experience everywhere aircraft fly.” ¶ 106.

        The Company’s CEO, Oakleigh Thorne, later admitted that, during this period, the de-

icing fluid’s impact on 2Ku was two-fold:

        First, airlines held back on marketing the product, which hurt revenue. And two,
        we ramped up spending to fix reliability as soon as we could, which hurt costs.
        We’ll see even higher spending in Q2 as our remediation plans ramp up further in
        that quarter. The costs are primarily around maintenance expense and CapEx for
        new antenna inventory. . . . My predecessor, Michael Small, talked about
        98/98/15. That’s 98% system availability, 98% flight route coverage and 15


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          megabits per second speeds, and that’s still our goal. We’re achieving the 98%
          coverage, and we’re achieving average 15 megabits per second speeds globally.
          But we slipped on the 98% system availability with our de-icing problems. ¶ 62.

As a result of the de-icing issue, Gogo was experiencing compromised take rates and ARPA, in

turn impacting EBITDA (¶¶ 61, 63), and system availability of only about 80%, not 98% (¶ 62).

Defendants’ representations in November and December 2017 touting operations and 2Ku’s

performance were thus materially false and misleading. See City of Sterling Heights Gen.

Emps.’ Ret. Sys. v. Hospira, Inc., 2013 WL 566805, at *19 (N.D. Ill. Feb. 13, 2013) (falsity

alleged where defendants claimed that company equipment was in good operating condition

while the company’s facilities and equipment was degraded); Sequel Capital, LLC v. Rothman,

2003 WL 22757758, at *11 (N.D. Ill. Nov. 20, 2003) (where defendants have knowledge of the

losses taking place within the company, future projections that speak glowingly of the

company’s future adequately alleged as misleading); see also Jensen v. Thompson, 2018 WL

1440329, at *11 (D.S.D. Mar. 22, 2018) (defendants’ full year EBITDA estimate sufficiently

alleged as materially misleading where complaint alleged facts demonstrating defendants knew

of information contradicting their representations).

          Gogo’s issues with 2Ku and de-icing were highlighted by media reports of problems

arising during the winter months of 2017-2018. One article, dated February 27, 2018, reported

that Delta was compelled to create an “action plan,” which Delta implemented in winter 2017-

2018. The action plan required the airline to become “more involved in 2Ku maintenance.”10

Delta complained that Wi-Fi performance, specifically 2Ku, had been disappointing in recent

months (winter 2017-2018), and “in some cases there [were] outages that took over 30 days to

be corrected.” Delta’s action plan had TechOps stepping in to assist Gogo in troubleshooting


10
     Rabinowitz, surpa n.7.


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and diagnostics of 2Ku, including managing multiple aspects of Gogo’s operations.

         Another article, dated January 22, 2018, was based on the author’s demo of Gogo’s 2Ku

service.11 According to the article, Gogo provided the author a December 2017 round-trip ticket

on Delta Air Lines, only for the article to report that:

         further testing on the return leg to DC ran into a hitch. Detroit is a cold place in
         December, and since ice and airplane control surfaces don’t mix, a deicing stop
         on the way to the runway is often necessary. On this occasion, the deicing stop
         also wreaked havoc with the antennae . . .the flight attendant initiated a reset of
         the system just as it was about to finish rebooting, and since the rebooting process
         takes around 20 minutes, that basically ate up the entire flight time.

         As is evident from these articles, the de-icing issues 2Kus experienced on Delta during

winter 2017-2018 are documented on the internet, including the details about the 2Ku’s antenna

repairs.12 Plaintiffs are not required to list every source of information relied on in their

investigation as long as the complaint pleads with particularity sufficient facts to support those

beliefs. DeVry, 2017 WL 6039926, at *6 (“under the PSLRA, private securities fraud plaintiffs

not only must plead with particularity the factual circumstances constituting fraud, including by

specifying the alleged misrepresentations and the basis for any allegations made on information

and belief”). Plaintiffs have done so here.

         Defendants’ suggestion that the earliest Gogo knew about the de-icing issues is the end of

December 2017 is a contrary factual assertion that may not be credited on a motion to dismiss.



11
  Gitlin, surpa n.6.
12
   Defendants assume that the AC’s allegations stem from a confidential witness. But the Runway Girl
article, for example, details Delta’s complaints during winter 2017-2018 that the deicing fluid issue
required a fix to prevent the ingestion of the fluid into the radome, reported that the system of making
repairs to the 2Kus during overnight downtime with other cabin maintenance was unsatisfactory to Delta
and required Delta to set hangar space aside for antenna replacements. Moreover, even if some of the
AC’s allegations were based on other sources, the AC need only provide sufficient facts to provide an
adequate basis for believing that the defendants’ statements were false. Novak v. Kasaks, 216 F.3d 300,
313–14 (2d Cir. 2000) (holding that where plaintiffs rely on confidential personal sources but also on
other facts, they need not name their sources as long as the latter facts provide an adequate basis for
believing that the defendants’ statements were false).


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Plaintiffs have alleged that Delta informed Gogo of 2Ku’s de-icing issue in November 2017.

The Court must credit the AC’s factual allegation at the pleading stage. Tellabs, Inc. v. Makor

Issues & Rights, Ltd., 551 U.S. 308, 322 (2007) (“Tellabs II”) (“Faced with a Rule 12(b)(6)

motion to dismiss a § 10(b) action, courts must, as with any motion to dismiss for failure to plead

a claim on which relief can be granted, accept all factual allegations in the complaint as true.”).

         Moreover, the allegations are corroborated by publicly available information that Delta

had complained about 2Ku’s performance “in recent months” (preceding February 2018) and had

already developed an action plan by February 2018 because Gogo’s fixes to the radome were

insufficient.13 The AC states enough facts to “raise a reasonable expectation that discovery will

reveal” additional evidence of falsity, or alternatively, to permit Defendants to marshal evidence

disproving Plaintiffs’ allegations, to survive Defendants’ motion to dismiss. DeVry, 2017 WL

6039926, at *9.

                       (b)     Defendants’ February 2018 Statements Were False

         On February 22, 2018, Gogo held a call following its press release announcing its

quarterly and year-end earnings. Defendant Small tasked his COO, Defendant Wade, with

discussing 2Ku installation issues. Defendant Wade reported that 2Ku installs had not gone

without challenges, chalking the issue up to “growing pains,” reporting that “some aircraft [] saw

degraded reliability.” ¶ 122. Defendants assured investors that the Company had “identified the

root cause of all of these issues, and ha[s] fixes for all of them that have either been deployed or

in the process of being deployed.” Id. In response to analyst questions about the Company’s

confidence in being able to fix 2Ku, Defendant Wade told investors that “ [t]he fix to that [de-


13
  Moreover, Defendants’ argument ignores that 2Ku systems were installed on planes during winter
2016-2017 and those 2Ku systems, like those 2Ku systems that experienced issues in the winter of 2017-
2018, did not have the de-icing modification for the 2Ku antennas that prevented 2Ku system
degradation, as the Company did not introduce the fix until December 2018. See infra, n.14.


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icing issue] was very easy to do, and we’ve deployed that on a number of aircraft and we’re not

seeing any further issues around that at this time.” ¶ 124. Defendants’ other statements during

the conference call further obscured the truth about the extent and severity of 2Ku installations.

For example, Defendant Small told investors that “we expect strong growth in consolidated

revenue and EBITDA in 2018,” even though Gogo was in the midst of the fallout from 2Ku

installation problems. ¶ 126.

        Although Defendants’ statements touched upon 2Ku installation issues that were

negatively impacting Gogo at the time, Defendants did not accurately portray the severity of the

issue or disclose the financial toll the problems were exacting on Gogo. ¶ 125. Defendants’

statements completely glossed over the issue with Delta, and their statements claiming that the

“fix is very easy to do” were misleading because, among other things, Delta required TechOps to

step in to fix the 2Kus alongside Gogo, which completely undercuts Defendants’ claim that the

Company had an “easy” fix and Gogo was not seeing any further issues.

        Contrary to Defendants’ assertions, these allegations provide a clear indication that as of

February 22, 2018, Defendants understood that 2Ku’s de-icing issue was worse than disclosed,

and it was caused by a design defect that would require more extensive repairs than anticipated

(i.e., TechOps assistance) and was and would impact Gogo’s future performance (e.g., customers

were unable to access Gogo’s internet services impacting Gogo’s take-rate and average revenue

per aircraft, impacting yield, revenue, net income, and EBITDA).

        “If one speaks, he must speak the whole truth.”     Stransky v. Cummins Engine Co., 51

F.3d 1329, 1331 (7th Cir. 1995), as amended (Apr. 7, 1995). Here, when Defendants told

investors the Company had a fix for 2Ku, Gogo was not seeing further issues, and even projected

an increase in EBITDA and a decline in cash needs, Defendants failed to speak the whole truth.




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See Carpenters Pension Tr. Fund for N. California v. Allstate Corp., 2018 WL 1071442, at *2

(N.D. Ill. Feb. 27, 2018) (material omission alleged despite partial disclosure where defendants

misled investors about causes of increase in claims frequency); Rothman, 2003 WL 22757758, at

*10–11 (falsity alleged where severe operational and financial problems were taking place

during the time financial projections were given).

                          (c)     Defendants’ Pre-November 2017 Statements Were False When
                                  Made

          Gogo’s 2Ku service became available on commercial aircraft in 2016. ¶ 74. By late

2016, Gogo had about 94 2Ku systems installed on aircrafts, and by February 2017, Gogo had

installed 2Ku on 130 aircraft. ¶¶ 4, 32. Those 2Ku units were subject to the 2016-2017 winter

conditions and did not have the de-icing modifications required to prevent fluid from getting

under the radome during the de-icing process. Indeed, 2Ku antennas experienced the issue

during winter 2017-2018. ¶¶ 58-61. It was not until December 2018, that Gogo reported that it

had a de-icing modification for its 2Ku antennas that prevented 2Ku system degradation.14

Defendants were undoubtedly aware of 2Ku system degradation earlier than November 2017

given that at least 94-130 aircraft had operated in a previous winter, and Defendants’ suggestion

to the contrary is illogical. Cf. City of Providence v. Aeropostale, Inc., 2013 WL 1197755, at

*11 (S.D.N.Y. Mar. 25, 2013) (recognizing that defendants “had the ability to track sales on a

daily basis,” and could undoubtedly surmise early in the spring selling season that the spring line

was going to be less successful than the winter line had been and concluding “from those results,

it is not at all illogical to infer that the summer was highly likely to be problematic as well”).

          Further, in August 2017, Defendants conceded that there was a problem with 2Ku.        ¶ 96.

On August 7, 2017, Defendants Small and Rowan hosted an earnings call, and during the

14
     As reported in Gogo’s January 9, 2019 press release filed with the SEC on Form 8-K.


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question-and-answer portion of the call, an analyst asked for information about the ARPA being

realized from planes with 2Ku systems. Defendant Rowan explained that “overall ARPA will be

diluted beginning in the back half of 2017 by the new aircraft coming online, because as we

mentioned, 150 of the installs this year would be attributable to ROW aircraft. So that

meaningfully dilutes the ARPA. But that’s a meaningful number of aircraft, and that will have

some ARPA dilution during the course of the year.” ¶ 96.

         Thus, as early as August 2017, Defendants conceded that there was an issue with ARPA

as related to 2Ku installation (i.e., seasoned planes that had the radome fix had increased ARPA,

but newly installed 2Kus without radome fixes were bringing down ARPA), but omitted to

disclose the specific de-icing problem with 2Ku and concealed the true cause of the decreased

ARPA. See Allstate Corp., 2018 WL 1071442, at *4 (falsity alleged where investors given

incomplete information).

         B.        Defendants’ Misrepresentations Are Not Protected By The Safe Harbor

         Defendants point to a few statements – i.e., those allegations related Gogo’s expected

costs and adjusted EBITDA for 2018 – and claim safe harbor protection. The safe harbor,

however, does not protect statements of present or historical fact, and it does not protect material

omissions. Very few of the statements challenged in the AC are forward-looking, and all of the

statements in the AC are challenged both as affirmatively false misstatements and misleading

due to material omissions. The safe harbor, therefore, only potentially applies to a relatively

small subset of Plaintiffs’ claims: those based on purely forward-looking statements – and only

to the extent that those statements are challenged as untrue statements of fact, rather than for

omitting facts necessary to make the statements not misleading.15


15
   To the extent that the safe harbor or the bespeaks caution doctrine potentially applies to any of
Plaintiffs’ claims, the challenged misstatements are not protected from liability because they were not


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                   1.   Many Of The Core Misrepresentations Are Not Forward-Looking
                        Statements, But Statements Of Present Conditions

        Defendants’ few cherry-picked statements are not protected by the PSLRA’s safe harbor

for forward-looking statements. Takara Tr. v. Molex Inc., 429 F. Supp. 2d 960, 974 (N.D. Ill.

2006) (statements that relate to “past, not future, performance” are not protected by safe harbor).

Moreover, statements that incorporate both forward-looking elements and representations of

present fact are not protected by the safe harbor with respect to their representations of present

fact. Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 705 (7th Cir. 2008) (“Tellabs

III”) (“a mixed present/future statement is not entitled to the safe harbor with respect to the part

of the statement that refers to the present”).

        The principal statements discussed above, including the statements regarding the status

and success of 2Ku are not forward-looking, but statements of present or historical fact, and

therefore are not protected by the safe harbor. See, e.g., In re Akorn, Inc. Sec. Litig., 240 F.

Supp. 3d 802, 818 (N.D. Ill. 2017) (finding statement regarding acquisition integrations to be

materially false or misleading because the “statement plainly made representations about current

facts, so it is not covered by the safe harbor.”).

                   2.   The Safe Harbor Does Not Protect Material Omissions

        The AC’s claims related to 2Ku are based entirely on omissions, and therefore the safe

harbor does not apply. See Takara, 429 F. Supp. 2d at 974 (“it is axiomatic that the failure to

make a statement cannot be forward-looking”); In re Salix Pharms., Ltd., 2016 WL 1629341, at

*9 (S.D.N.Y. Apr. 22, 2016) (“The safe harbor … does not protect material omissions.”). This is

true, “regardless of whether the statements thereby rendered misleading were forward-looking.”



accompanied by adequate cautionary language and were made with contemporaneous actual knowledge
of their falsity. See infra at Section III.B.3.


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Aeropostale, Inc., 2013 WL 1197755, at *12.16

         In this case, the AC’s principal allegations of falsity are based on a failure to disclose. In

particular, the AC alleges that each of the alleged misstatements was both materially false and

misleading (i.e., made affirmative, material misstatements) and omitted to state material facts

necessary to make the statements not misleading (i.e., made material omissions). Specifically,

the statements failed to disclose the significant issues that Gogo was experiencing with 2Ku’s

design flaw and the associated resulting costs thereto. See ¶¶ 75, 77, 79, 81, 83, 85, 87, 89, 91,

93, 95, 97, 99, 101, 103, 105, 107, 109, 111, 113, 115, 117, 119, 125-26.

         Thus, to the extent the AC’s falsity allegations are based on omissions, the PSLRA’s safe

harbor provision is inapplicable.       This is true as to the specific statements identified by

Defendants, which Plaintiffs alleged were misleading due to the omission of material

information.17 In re Spiegel, Inc. Sec. Litig., 382 F. Supp. 2d 989, 1029 (N.D. Ill. 2004) (“Given


16
   Accord In re Oxford Health Plans Sec. Litig., 187 F.R.D. 133, 141 (S.D.N.Y. 1999) (“The safe harbor
and bespeaks caution doctrines do not apply to … omissions.”); In re Complete Mgmt. Inc. Sec. Litig.,
153 F. Supp. 2d 314, 340 (S.D.N.Y. 2001) (“[t]he ‘bespeaks caution’ doctrine, and the related statutory
‘safe harbor’ of the PSLRA …. apply to forward-looking statements only, and not to material
omissions”).
17
   See ¶77 (“Defendant Smagley’s statements were misleading because they concealed the true costs
associated with the 2Ku radome fix, and instead portrayed Gogo as being on track for significant
increases in adjusted EBITDA); ¶95 (“statements were materially misleading because they
communicated to the public that the Company expected the net costs for the airborne equipment and
installations to decrease in 2018, while omitting to disclose the mounting costs from trying to fix the
problems with the leaking 2Ku radomes. Rowan’s statements misled the public to believe that CapEx was
decreasing, while omitting material information about the increasing associated with the faulty 2Ku
radomes.”); ¶103 (“statements were misleading because they stated that the ARPA was diluted as a result
of aircrafts when in reality, the dilution was due the problems with the leaking 2Ku radomes on all
aircrafts installed with the 2Ku system. Rowan’s statements omitted to disclose the problem with the 2Ku
system and instead misattribute the decreased ARPA to the new planes”); ¶111 (“statements were
misleading because he stated “seasoned aircraft” would “mature to more seasoned ARPA levels,” when
in reality, Gogo was searching for a solution to the leaking 2Ku radome problem, and that increased
ARPA would not be from aircrafts becoming more “seasoned”’ or “mature,” but instead Gogo fixing the
2Ku radome problem”); ¶119 (“statements were materially misleading because, given the increased
expenses Gogo was facing from the faulty 2Ku installations, Rowan was in possession of facts that
materially contradicted the statement that 2017 would be the ‘peak’ year for ‘EBITDA loss.’”); ¶126
(“Defendants’ other statements during the conference call further obscured and/or concealed the truth
about the extent and severity of the 2Ku installations”).


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the allegations that defendants knowingly omitted material information, the general disclaimers

are not enough to save them from potential liability”); see also Ong ex rel. Ong IRA v. Sears,

Roebuck & Co., 388 F. Supp. 2d 871, 905 (N.D. Ill. 2004) (same).

                   3.   The Safe Harbor Does Not Protect Any Of Defendants’ Misstatements
                        From Liability

         Even to the extent that the safe harbor potentially applies in this case,18 it does not protect

Defendants’ misstatements from liability. First, in order to be protected under the safe harbor,

forward-looking statements must be accompanied by “meaningful cautionary statements

identifying important factors that could cause actual results to differ materially from those in the

. . . statement . . . .” 15 U.S.C. §78u-5(c)(1)(A). To satisfy the safe harbor, the purported

cautionary language must be “meaningful” (see 15 U.S.C.S. §78u-5(c)), which is a fact-intensive

issue that is “difficult if not impossible” to adjudicate, particularly “at the pleading stage, before

plaintiffs have access to discovery.” Asher v. Baxter Int’l Inc., 377 F.3d 727, 734 (7th Cir.

2004), as amended (Sept. 3, 2004); see also Blatt v. Corn Prods. Int’l, Inc., 2006 WL 1697013,

at *5 (N.D. Ill. June 14, 2006) (“[W]hether the cautions at issue here were adequate is not a

question to be answered on a motion to dismiss .... The sufficiency of Defendants’ cautionary

tone (if, indeed, one was required) is a question of fact, or possibly a question of law, that can

only be answered on a more developed record”). Accordingly, at this preliminary pleading

stage, the Court should reject Defendants’ safe harbor argument.

         Further, while the term “meaningful” is not strictly defined, it is clear that “‘boilerplate’

warnings won’t do; cautions must be tailored to the risks that accompany the particular

projections.” Asher, 377 F.3d at 732. “To be effective, the cautionary language ‘must be


18
   The safe harbor only potentially applies to Defendants’ statements that are purely forward-looking
statements and to the extent that the AC challenges those statements as affirmative misstatements rather
than statements made misleading by omission.


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substantive and tailored to the specific future projections, estimates or opinions in the prospectus

which the plaintiffs challenge.”’ Lindelow v. Hill, 2001 WL 830956, at *4 (N.D. Ill. July 20,

2001).

         Here, the cautionary language cited by Defendants referred to the risk of “any inability to

timely and efficiently deploy our 2Ku service” and “the effects of service interruptions or delays,

technology failures and equipment failure or malfunctions arising from defects or errors in our

software or defects in or damages to our equipment.” MTD at 18. This cautionary language was

meaningless in light of the significant issues that Gogo was already having with 2Ku’s design

flaw and the associated costs that resulted throughout the Class Period.                  See ¶¶ 55-60.

“Cautionary words about future risk cannot insulate from liability the failure to disclose that the

risk has transpired.” Rombach v. Chang, 355 F.3d 164, 173 (2d Cir. 2004).19

         Moreover, even “[w]arnings of specific risks . . . do not shelter defendants from liability

if they fail to disclose hard facts critical to appreciating the magnitude of the risks described.” In

re Bear Stearns Cos., Inc. Sec., Deriv. & ERISA Litig., 763 F. Supp. 2d 423, 495 (S.D.N.Y.

2011). Here, for example, Defendants point to risk disclosures regarding potential interruptions

and delays in its Annual Report issued February 2018.                 However, as discussed herein,

Defendants were certainly aware of the design defects (Delta had informed Gogo of these issues)

at this time. See Section II.C., supra; Siracusano v. Mattrixx Initiatives, Inc., 585 F.3d 1167,

1181 (9th Cir. 2009) (risk disclosures are not sufficiently cautionary and are instead misleading

when they describe risks “in the abstract” that “already have come to fruition”).20


19
   See also In re MF Global Holdings Ltd. Sec. Litig., 982 F. Supp. 2d 277, 304-05 (S.D.N.Y. 2013)
(“[c]autionary language that is misleading in light of historical fact cannot be meaningful”).
20
   MF Global, 982 F. Supp. 2d at 318 (“[W]arning of possible risks while failing to disclose critical facts
[is like] someone who warns his hiking companion to walk slowly because there might be a ditch ahead
when he knows with near certainty that the Grand Canyon lies one foot away”); See also In re
Westinghouse Sec. Litig., 90 F.3d 696, 710 (3d Cir. 1996) (“to caution that it is only possible for the


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        Second, statements made with actual knowledge of their falsity are not protected by the

safe harbor. Shah v. Zimmer Biomet Holdings, Inc., 348 F. Supp. 3d 821, 841 (N.D. Ind. 2018).

A speaker is liable if the statement contains an omission of a known material fact which makes

the affirmative statement misleading or false, Kas v. Caterpillar, Inc., 815 F.Supp. 1158, 1171

(N.D. Ill. 1992), or “unreasonable.” Stransky, 51 F.3d at 1335. A defendant thus may be liable

for issuing a projection of earnings if the defendant “ignored facts seriously undermining the

accuracy of the forecast.” Good v. Zenith Elecs. Corp., 751 F.Supp. 1320, 1322 (N.D. Ill. 1990);

see also In re Next Level Sys., Inc., 1999 WL 387446, at *7-8 (N.D. Ill. Mar.31, 1999).

        Here, Defendants had actual knowledge of the adverse material facts that they failed to

disclose.    Thus, because Defendants had actual knowledge of 2Ku’s issues, they are not

protected by the safe harbor. See, e.g., Zimmer Biomet, 348 F. Supp. 3d at 842 (finding that

defendants’ cited cautionary language mentioning manufacturing interruptions and quality

system regulation and their potential adverse impacts on [the company], “cannot inoculate

otherwise misleading statements, especially when the company was alleged to have known the

specific facts relating to the quality system issues at its major North Campus plant which would

inevitably be a regulatory disaster”); see also In re Ulta Salon, Cosmetics & Fragrance, Inc. Sec.

Litig., 604 F. Supp. 2d 1188, 1196 (N.D. Ill. 2009) (safe harbor does not protect defendants

where complaint alleges that defendants had knowledge of contrary information and operating

problems omitted from statements).

        C.         Defendants Acted With Scienter

        To plead scienter, a complaint must state specific facts giving rise to a strong inference

that a defendant either knew “or was reckless in disregarding a substantial risk” that its statement

unfavorable events to happen when they have already occurred is deceit”); In re Harman Int’l Indus., Inc.
Sec. Litig., 791 F.3d 90, 13 (D.C. Cir. 2015) (“there is an important difference between warning that
something ‘might’ occur and that something ‘actually had’ occurred”) (emphasis in original).


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was false or misleading. Tellabs III, 513 F.3d at 704. The scienter inquiry is holistic and asks

“whether all of the facts alleged, taken collectively, give rise to a strong inference of scienter, not

whether any individual allegation, scrutinized in isolation, meets that standard.” Tellabs II, 551

U.S. at 322-23.     Scienter may be inferred from indirect and “circumstantial evidence of

conscious misbehavior or recklessness.” Rubinstein v. Gonzalez, 241 F. Supp. 3d 841, 854 (N.D.

Ill. 2017). For the majority of Plaintiffs’ claims at issue here, the required state of mind is

recklessness.

        The Seventh Circuit defines “reckless conduct” in the context of securities fraud as “an

extreme departure from the standards of ordinary care . . . to the extent that the danger was either

known to the defendant or so obvious that the defendant must have been aware of it.” Tellabs

III, 513 F.3d at 704. The closer the alleged misstatement or omission is related to a business’

“core operations” or “key products,” the more reasonable it is to infer that senior management

was aware of a problem regarding those situations. Id. at 709-11.                 Examples of such

circumstantial evidence of misconduct include allegations that defendants “knew facts or had

access to information suggesting that their public statements were not accurate . . . or . . . failed

to check information they had a duty to monitor.” Bear Stearns, 763 F. Supp. 2d at 486. “An

egregious refusal to see the obvious” is a hallmark of recklessness. In re Carter-Wallace, Inc.

Sec. Litig., 220 F.3d 36, 40 (2d Cir. 2000).

        Irrespective of which precise state of mind is required, scienter is adequately alleged if

the facts give rise to an inference that Defendants intentionally or recklessly misled the public

which is at least as compelling as any non-culpable inference. Tellabs III, 551 U.S. at 324.

Scienter allegations “need not be irrefutable, i.e., of the ‘smoking-gun’ genre, or even the ‘most

plausible of competing inferences.’” Id. at 324.




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        Under this holistic approach, the AC pleads a strong inference of scienter. Defendants

received notifications, i.e., “outage reports,” alerting them to 2Ku outage-related problems

“instantly,” and its executives monitored these alerts in real-time (¶ 137); Delta, a major

customer that accounted for over 25% of Gogo’s revenue for the years 2015-2017, informed

Gogo that 2Ku was not working and had been complaining for months about the inoperable 2Ku

systems (¶¶ 35, 56), and threatened to shut 2Ku systems down if they were not fixed, ultimately

requiring TechOps to step in; moreover, Gogo’s newly appointed CEO admitted that the

Company had been forced to “ramp up” spending during winter 2017-2018 to fix reliability and

knew that 2Ku service availability had “plunged down” to about 80% (¶ 62). These facts, along

with the others discussed infra, give rise to a strong inference that Defendants intentionally, or

severely recklessly, misled investors.

                   1.   Defendants’ Knowledge Of Facts And Access To Information
                        Contradicting Their Public Statements Support A Strong Inference
                        Of Scienter

        Certain facts are not in dispute. For example, there is no dispute that 2Ku was defective.

As explained in the AC:

        De-icing fluid would permeate the compartment in which the 2Ku was installed
        when sprayed on planes by airport personnel. The compartment, also referred to
        as the “radome” or “radar dome,” had ventilation valves that allowed de-icing
        fluid to come into contact with the 2Ku system. The 2Ku contained disc-like
        antennas stacked on top of one another that would rotate in different directions.
        When de-icing fluid entered the 2Ku’s compartment, the fluid would make the
        antennas “sticky” and unable to function properly due to the glycol in the de-icing
        solutions. ¶ 55.

        Defendants further cannot, and do not, contend that this was not the case throughout the

entire Class Period. In fact, it was not until December 2018 (almost a year after the end of the

Class Period) that Gogo reported that it had a de-icing modification for its 2Ku antennas that




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prevented 2Ku system degradation.21 As such, it belies belief that none of the 94-130 aircraft

that had operated in the winter before the Class Period (2016-2017) had suffered from this defect

and that the Company’s executives were unaware of this fundamental flaw in their most

important project. The most logical inference is that Defendants were aware of 2Ku’s defect

throughout the Class Period.

          Defendants’ Class Period admissions further confirm their knowledge of 2Ku’s defect.

For example, the Company conceded this fact in both August of 2017 and November of 2017

when Defendant Rowen admitted that “seasoned” aircraft drove the “significant acceleration in

ARPA,” that dilution of ARPA was due to “new aircraft airlines coming online” and those 2Ku

systems had less service margin and greater ARPA22 than planes that had just had the system

installed. ¶¶ 96, 104, 110-11. The most logical inference to draw from the fact that new 2Ku

systems caused a decrease in ARPA is that Defendants investigated the decrease and became

aware of the root cause of the problem. Any argument that Defendants failed to investigate these

issues is illogical and does not negate a finding of scienter. Rehm v. Eagle Fin. Corp., 954 F.

Supp. 1246, 1255 (N.D. Ill. 1997) (“An egregious refusal to see the obvious, or to investigate the

doubtful, may in some cases give rise to an inference of ... recklessness.”).

          Corporate executives, including the Individual Defendants, had access to the up-to-date

results of 2Ku systems. As explained in the AC:

          When the 2Ku system failed, a passenger would report the outage to the pilot. The
          pilot would then generate an “ACARS” message (Aircraft Communications
          Addressing and Reporting System) to maintenance controllers. Gogo would
          receive notice of the ACARS message and, upon receipt, create a ticket for the
          aircraft. The ticket would be dispatched throughout the company, including
          engineering and design. These tickets (or “outage tickets”) would be entered into
          Gogo’s “Service Now” database. The “Service Now” database would generate

21
     See supra, n.14.
22
     ARPA represented Gogo’s average revenue per aircraft. ¶ 50.


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         “outage lists” that were received by everyone at the company, including the Chief
         Executive Officer. The “outage lists” were populated when the ticket was created
         after receipt of the ACARS message. ¶ 58.

         While Defendants argue that the allegation is unsupported, Defendants’ argument is

bellied by their own Class Period admissions, including Defendant Wade’s November 2017

unequivocal statement that:

         Today, we have a network operation center that monitors around 8,000 aircraft
         globally, 24/7. We are able to monitor the aircraft. We’re able to monitor the
         network. We can see exactly what is going on. With the investment we put into
         the software that runs this network operation center, we have a very detailed view
         into what's happening in those aircraft as they fly. ¶ 136.23

On that same date, Defendant Rowan also clarified that “As far as 2Ku, … When we -- when it

does fail, we hear about it instantly, which the good news is we are hearing about instantly and it

does correlate. When we know we have a bad flight, we hear about it…” ¶ 137. Certainly, it

makes sense that corporate executives would track this vital information as non-working 2Ku

systems meant that the Company was not making any revenue on those flights. ¶ 61. The

statements of certain Defendants should be taken at face value, and as such, these admissions

demonstrate Defendants had actual knowledge of the issues with 2Ku.

         While Defendants claim that the allegations in the AC related to Delta are unsupported,

this assertion is clearly contradicted by the articles discussed above. One article quotes a Gogo

vice president, who admitted 2Ku’s issues related to de-icing fluid; and the other reports that

Delta informed Gogo of the substantial issues with 2Ku and was involving itself in Gogo’s

operations because the Company was not able to get the job done. See Section II.C., supra. At

an absolute minimum, these facts demonstrate that Defendant Wade’s statement on February 22,


23
   Likewise, Defendants claim that “the specific nature of the information was contained in those reports”
is without merit as the outage lists informed Gogo that the 2Ku system was inoperable, which is only fact
that truly matters because the Company was not making any money when 2Ku was not working.
Compare MTD at 23 with ¶¶ 58-61.


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2018 that the fix to the deicing problem “was very easy to do” and “we’re not seeing any further

issues around that at this time” were knowingly false when made.

         The most logical inference is that Defendants were aware of Delta’s concern months

prior because organizations as large as Delta do not simply decide on a whim – without months

of meetings, both internally and with Gogo, and substantial research – to “involv[e] itself in

multiple aspects of Gogo’s operations.”24 Delta represented that some of its involvement would

be “on a temporary basis and some will be permanent” and Delta would begin “working directly

with component manufacturers in order to design improvements into the 2Ku hardware, while

Gogo is increasing its stock level in order to better facilitate antenna replacements.” Id.

         Throughout the Class Period, the Individual Defendants repeatedly discussed “98/98/15,”

which refers to 98% system availability, 98% flight route coverage and 15 megabits per second

speeds, and the importance of 2Ku maintaining these metrics. See, e.g., ¶¶ 45,25 48, 82, 86, 90,

106, 112. Undoubtedly, sustaining these metrics was a point of pride for Gogo and a point of

differential between 2Ku and Gogo’s competitor’s products.              Even in December of 2017,

Defendant Small touted “98/98/15” as “industry-leading stats.”             ¶ 112.    These stats were

information that the Company’s executives were tracking, particularly because the statistics were

often asked about and discussed during investor calls. Defendant Small, however, did not

disclose in December 2017 or February 2018 that 2Ku was not meeting these crucial metrics.

Instead, only after Defendant Small’s removal from his position as CEO of Gogo, did the new

CEO, Oakleigh Thorne, disclose that during the winter of the “availability plunged down to the


24
  Rabinowitz, surpa n.7.
25
   For example, on November 17, 2017, Defendant Small stated: “We now have a global high capacity,
highly available network. There’s nothing left to do to make this happen. No need to launch new
satellites, no new antenna design, no new modem design. This is out there and happening today. We
describe the performance as 15, 98, 98. That’s 15 megabits per second to the device, 98% of global flight
hours, and 98% availability. This provides a ground-like experience everywhere aircraft fly.” ¶ 45.


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mid 80s.” ¶ 62. Defendant Small’s failure to disclose that the “plunge” in 2Ku availability was

intentionally and severely reckless. At a minimum, Defendant Small had knowledge of facts and

access to information contradicting his public statements, which supports a strong inference of

scienter.

        In sum, “[t]he way in which [the above facts] fit together and reinforce one another

strongly suggests a conscious course of conduct.” See Crowell, 343 F. Supp. at 16.

                   2.   Additional Factors Further Strengthen The Inference Of Scienter

        Beyond the facts indicating that Defendants had knowledge of facts and access to

information contrary to their public statements, several additional factors substantially strengthen

the inference of scienter. First, the closer the alleged misstatement or omission is related to a

business’ “core operations” or “key product,” the more reasonable it is to infer that senior

management was aware of a problem regarding those situations. Tellabs III, 513 F.3d at 709-

11. Here, Delta was Gogo’s largest client, accounting for over 25% of the Company’s revenue

(¶ 25), and 2Ku was the primary product that Gogo was relying on for its future success and

profitability. ¶¶ 33-38. Given the centrality of 2Ku to Gogo’s operations, the inference that

Defendants acted with scienter is supported by the “core operations” doctrine. In re Sears,

Roebuck & Co. Sec. Litig., 291 F. Supp. 2d 722, 727 (N.D. Ill. 2003) (“Officers of a company

can be assumed to know of facts ‘critical to a business’s core operations or to an important

transaction that would affect a company’s performance.’”).

        Second, Defendant Small, served as Gogo’s CEO for over eight years, from February 16,

2010 until March 4, 2018, to be replaced by Oakleigh Thorne, the Company’s largest

shareholder, who, just two months later (May 2018) revealed that Gogo had been misleading

shareholders about 2Ku performance and operations (¶ 62). Defendant Smalls’ departure from




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the Company, just weeks before Gogo revealed its misrepresentations regarding 2Ku systems,

supports a strong inference of scienter. ¶¶ 18, 62. Ross v. Career Educ. Corp., 2012 WL

5363431, at *10 (N.D. Ill. Oct. 30, 2012) (timing of CEO’s resignation, which soon preceded the

disclosure of company’s improprieties, lends weight to a finding of scienter).

         Third, the short interval between the removal of Small as CEO in March and the

reporting of 2Ku operational problems on May 4 strengthens an inference of scienter. ¶ 62 (“My

predecessor, Michael Small, talked about 98/98/15. That’s 98% system availability, 98% flight

route coverage and 15 megabits per second speeds, and that’s still our goal. We’re achieving the

98% coverage, and we’re achieving average 15 megabits per second speeds globally. But we

slipped on the 98% system availability with our de-icing problems.”). Cf. Arnlund v. Deloitte &

Touche LLP, 199 F. Supp. 2d 461, 483 (E.D. Va. 2002) (“the brief lapse of time between the

unqualified audit opinion and the reporting by HM of total financial devastation provides further

support for Deloitte’s knowledge that its unqualified audit opinion was false when issued”).26

         Fourth, Defendants’ claims that they were highly focused on monitoring the costs and

status of 2Ku systems, and their responses to detailed analyst questions on those topics, bolster

an inference of scienter. For example, on earnings calls with analysts, Wade explained that

“We’re able to monitor the network. We can see exactly what is going on” and Defendant

Rowan said with respect to 2Ku systems that “when it does fail, we hear about it instantly, which

the good news is we are hearing about instantly and it does correlate. When we know we have a

bad flight, we hear about it…” ¶¶ 136-37.27 Courts have held that an inference of scienter is


26
   See also In re New Century, 588 F. Supp. 2d 1206, 1231 (C.D. Cal. 2008) (“[T]he fact that the new
CEO . . . discovered the accounting violations within months of taking the position is a strong indication
that these accounting violations were obvious enough that a new officer found them quickly.”); George v.
China Auto. Sys., Inc., 2012 WL 3205062, at *14 (S.D.N.Y. Aug. 8, 2012) (“[Q]uick discovery of an
alleged error” “support[s] an inference of recklessness.”).
27
   See also ¶ 48 (“We have the ability to monitor the network remotely”).


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strengthened when defendants have represented to themselves as closely monitoring the subjects

of their false statements28 or answered detailed questions from analysts or investors on those

subjects.29

         Fifth, Defendants argue that the AC does not plead any facts showing that Defendants

had a motive to commit fraud. Both the U.S. Supreme Court and the Seventh Circuit, however,

have made it clear that a showing of motive is unnecessary to plead scienter. See Tellabs II, 551

U.S. at 325 (“absence of a motive allegation” is “not fatal”); Tellabs I, 437 F.3d at 601 (plaintiffs

may state claim “by pleading either motive and opportunity or strong circumstantial evidence of

recklessness or conscious misbehavior”). The AC pleads strong circumstantial (and direct)

evidence of reckless and/or conscious misbehavior; it is unnecessary to enhance these allegations

with evidence of motive.

         In Tellabs III, the Seventh Circuit explained that even in the absence of an apparent

motive, defendants might still commit securities fraud because prompt disclosure of the truth

would cause an immediate drop in the company’s stock price, whereas waiting might allow the

situation to correct itself or allow other events to overtake the bad news: “The fact that a

gamble—concealing bad news in the hope that it will be overtaken by good news—fails is not


28
   See, e.g., Meridian Horizon Fund, L.P. v. Tremont Grp. Holdings, Inc., 2012 WL 4049953, at *2-3
(S.D.N.Y. Sept. 14, 2012) (scienter adequately pled where defendants represented “they closely
monitored” the subject of their false statements because they either “failed to perform the monitoring they
claimed to have performed or they uncovered [the truth and] knowingly or recklessly misrepresented the
circumstances to plaintiffs”); In re BP p.l.c. Sec. Litig., 843 F. Supp. 2d 712, 783 (S.D. Tex. 2012)
(defendant’s repeated statements “weigh strongly in favor of the inference that” he “paid special
attention” to the subject of the fraud “or, at the least, was reckless in not doing so while continuing to
publicly tout improvements”).
29
   See, e.g., Tellabs, I, 437 F.3d at 597-98 (specific statements to analyst “went well beyond puffery: it
was a direct response to an analyst’s inquiry about a possible decline” in sales). vacated in part on other
grounds, 551 U.S. 308 (2007); In re St. Jude Med., Inc. Sec. Litig., 836 F. Supp. 2d 878, 888 (D. Minn.
2011) (actionable misrepresentations found where “[m]any of the statements at issue were provided in
direct response to questions from financial analysts”); In re Gen. Elec. Co. Sec. Litig., 857 F. Supp. 2d
367, 397-98 (S.D.N.Y. 2012) (CEO’s detailed responses to questions from investors at presentation
bolstered inference of scienter).


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inconsistent with its having been a considered, though because of the risk a reckless, gamble.”

513 F.3d at 710. Here, Defendants may have been gambling that a solution to 2Ku’s defect

would be uncovered before the public learned of the defect and its impact on the Company,

resulting in the benefits that Defendants were already touting.

         Defendant Smalls’ purchases of stock, while appearing to be large, only constituted a

quarter of his stock holdings, before taking into account the substantial future stock and options

afforded by his employment agreement.30 A more reasonable inference is that Small’s purchase

was an attempt to prop up the Company’s stock price31 at a time when Gogo needed continued

access to financing for its continued operations32 and Small could maintain his position at the

Company he had overseen since before it went public in 2013 in the face of a hostile Board of

Directors, who would soon replace him with one of its members, Gogo’s largest shareholder.

See Cabletron Sys. Inc., 311 F.3d at 39 (serious and worsening deterioration of company’s

financial health properly alleged motive as “[t]his is more than the usual concern by executives

to improve financial results; the executives’ careers and the very survival of the company were

on the line”).

                   3.   Gogo Acted With Corporate Scienter

         A plaintiff may “draw a strong inference of corporate scienter without…nam[ing] the

individuals who concocted and disseminated the fraud.” Tellabs III, 513 F.3d at 708, 710. The

30
   For example, upon his removal as CEO, Small retained control of stock and options worth about $3.1
million and a $650,000 in cash, far dwarfing his purchase of stock during the Class Period.
31
   On the day Defendant Small’s purchase was reported to the SEC, Gogo’s stock price rose more than
7% on abnormally high volume.
32
   At all relevant times, Gogo relied on debt financing to maintain operations. For example, during the
Class Period, on September 20, 2017, Gogo announced a private offering of $100 million in senior
secured notes. As of December 31, 2017, Gogo reported a total consolidated indebtedness of
approximately $1.1 billion. ¶ 43. In fact, after the Class Period, Gogo again had to close a $238 million
convertible notes private placement. See Gogo Announces Closing of $238 Million Convertible Notes
Offering, available at http://gogoair.mediaroom.com/2018-12-06-Gogo-Announces-Closing-of-238-
Million-Convertible-Notes-Offering


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AC pleads facts demonstrating Gogo’s corporate scienter.33               In Tellabs III, the alternative

hypothesis that “a cascade of innocent mistakes, or acts of subordinate employees, either or both

resulting in a series of false statements [] [was] far less likely than the hypothesis of scienter at

the corporate level at which the statements were approved.” Id. Here, as in Tellabs III, the

alternative hypothesis—that a “cascade of innocent mistakes” resulted in a failure to disclose a

fundamental design defect in its most important product that was causing 2Ku to be non-

operational and revenue producing—is less likely than Gogo’s management knew of, or

recklessly disregarded, the issues with 2Ku in hopes that those issues could be fixed before the

public ever learned the truth about 2Ku’s problems. When the totality of the AC’s allegations are

considered collectively, the inference of corporate scienter is overwhelming.

IV.      DEFENDANTS ARE LIABLE AS CONTROL PERSONS

         Defendants do not dispute that the AC sufficiently pleads that the Individual Defendants

were control persons of the Company, and therefore liable for Gogo’s primary violations under

Section 20(a) of the Exchange Act. ¶¶ 167-72. Defendants only argue that the claims should be

dismissed for lack of a primary violation and because those claims are sufficiently alleged,

Defendants cannot establish any pleading deficiency as to the control person claims.

V.       CONCLUSION

         For the foregoing reasons, Defendants’ motion to dismiss should be denied in its entirety.

Should the Court grant the motion in any part, Plaintiffs respectfully request leave to replead.




33
   Even if the Court were to conclude that the AC failed to allege scienter for any of the Individual
Defendants, which in light of the above facts it should not, the AC identifies a factual basis for inferring
scienter as to all Individual Defendants, and attributes false statements to each. See Kohut v. KBR, Inc.,
2015 WL 11995250, at *12 (S.D. Tex. Sept. 3, 2015).


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Dated: April 9, 2019                        GLANCY PRONGAY & MURRAY LLP


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                                      PROOF OF SERVICE


        I, the undersigned say:

        I am not a party to the above case and am over eighteen years old.

        On April 9, 2019, I served true and correct copies of the foregoing document, by posting

the document electronically to the ECF website of the United States District Court for the

Northern District of Illinois, for receipt electronically by the parties listed on the Court’s Service

List.

        I affirm under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on April 9, 2019.



                                                      s/ Casey E. Sadler
                                                      Casey E. Sadler
